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Han'isburg, Pennsylvania 17101

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Western Express, Inc. and Ryan P. Gleason

 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRlCT OF PENNSYLVANIA

SABINO CORTES and :
MARIA l\/IALDONADO, : CIVIL ACTIC)N - LAW

 

Plaintiffs
v. : No.
WESTERN EXPRESS, INC. and :
RYAN P. GLEASGN, : JURY TRIAL DEMANDED
Defendants
NOTICE OF REMOVAL

 

TC THE CLERK OF THE COURT:

Defendants, Western Express, lnc. and Ryan P. Gleason, by and through their undersigned
counsel, Stephen E. Geduldig, Esquire, Bradley N. Sprout, Esquire, and Pion, Nerone, Girman,
Winslow & Smith, P.C., hereby submit the following Notice of Removal pursuant to 28 U.S.C. §
1441 and remove the state court action described below to the United States District Court of the
Eastern District of Pennsylvania.

l. On September 28, 2017, the Plaintiffs, Sabino Cortes and Maria Maldonado,
commenced an action against Western Express and Ryan Gleason by filing a Complaint in the

Court of Common Pleas of Northampton County, Pennsylvania, Docket No. C-48-cv-2017-8856

 

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(the “Lawsuit”). A copy of Plaintiffs’ Complaint is attached to this Notice of Removal as Exhibit
A.

2. The Court of Common Pleas of Northarnpton County is located within the territorial
jurisdiction of the United States District Court for the Eastern District of Pennsylvania.
Accordingly, removal to this Court is proper pursuant to 28 U.S.C. § l446(a).

3. A copy of the Complaint was served upon Western Express by Certitied Mail,
Return Receipt Requested on October 2, 2017. S_e§ Exhibit B, September 29, 2017 Letter from
Plaintift`s’ Counsel & USPS Tracking Results.

4. Accordingly, removal is being made within the time permitted by 28 U.S.C. §
l446(b)(2)(B).

5. Pursuant to 28 U.S.C. § 1446(b)(2)(A), all Defendants consent to the removal of
the Lawsuit to this Court.

6. Removal of the Lawsuit to this Court is proper under 28 U.S.C. § l441(a) because
this Court has original jurisdiction ~ specifically, diversity jurisdiction under 28 U.S.C. § 1332 -
over Plaintiffs’ claims.

7. The requirement of complete diversity between Plaintiffs and defendants is met, as
set forth below:

a. Plaintiff, Sabino Cortes, resides in, and thus is a citizen of, Pennsylvania.

_S_e_e Exhibit A, Complaint, 11 l.

b. Plaintiff, Maria Maldonado, resides in, and thus is a citizen of, New Jersey.

w Exhibit A, Complaint, 11 2.

 

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c. Defendant, Western Express, is a citizen of Tennessee, as it is both
incorporated in Tennessee and has its principal place of business in Tennessee. _S_e_e_
Exhibit A, Complaint, 11 3.

d. Defendant, Ryan Gleason, resides in, and this is a citizen of, New York.

S_ac_ Exhibit A, Complaint, 11 4.

e. As such, there is complete diversity of citizenship between the Plaintiffs
and the Defendants.
f. Moreover, none of the Defendants are citizens of Pennsylvania and, thus,

the requirements of 28 U.S.C. § 1441(b)(2) are met,
8. The requirement of an amount in controversy in excess of 875,000 is met, as set
forth below:

a. The Lawsuit arises out of a motor vehicle accident that occurred on October
13, 2015, on Interstate 80 West in East Stroudsburg Borough, l\/lonroe County,
Pennsylvania _S__e§ Exhibit A, Complaint, 1111 7~9.

b. Both Sabino Cortes and Maria Maldonado have made separate, individual
claims against Defendants for compensatory damages in excess of 850,000, although
neither individual demands a specific sum. §_e_e Exhibit A, Ad Damnum Clauses to Counts
l - IV.

c. Nonetheless, Sabino Cortes seeks to recover damages for the following:
serious and/or permanent injuries to his body and extremities; physical pain and anxiety;
mental and emotional distress; loss of life’s pleasures; embarrassment, humiliation and

disfigurement; past and future medical expenses; past and future lost eamings/earning

 

 

 

proper

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capacity; costs of services he can no longer perform himself; and damages to his motor
vehicle. S_e_e Exhibit A, Complaint, 1111 12-16.

d. Similarly, Maria Maldonado seeks to recover damages for the following:
serious and/or permanent injuries to her body and extremities; physical pain and anxiety;
mental and emotional distress; loss of life’s pleasures; embarrassment, humiliation and
disfigurement; past and future medical expenses; past and future lost earnings/earning
capacity, and; costs of services she can no longer perform herself _S_ee Exhibit A,
Complaint, 1111 22-25.

e. Given the nature and extent of the injuries alleged by Sabino Cortes and
Maria Maldonado in their Complaint, it is clear that the damages that they will seek in the
Lawsuit will, for each of them individually, exceed the jurisdictional requirement of
875,000. _S§§ Russo v. Wal~l\/lart Stores East, L.P., 2017 U.S. Dist. LEXIS 69633, *4-5
(M.D. Pa. 2017) (holding that allegations of significant injuries and damages in a complaint
will trigger notice by the defendant that an amount in excess of the jurisdictional amount
is at issue for purposes of the removal period); Sims v. PerkinElmer Instruments. LLC,
2005 U.S. Dist. LEXIS 5300, *10-11 (E.D. Pa. 2005) (same).

9. For the reasons set forth above, removal of the Lawsuit to this Court is just and

10. Upon continuation of filing and docketing with this Court, this Notice of Removal

shall be provided to all parties, as well as the Court of Common Pleas of Northampton County, in

accordance with 28 U.S.C. § l446(d).

 

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Respectfully submitted,

PION, NERONE, GIRMAN,
WINSLOW & SMITH, P.C.

Date: October , 2017 z ' \
PA At omey I.D. N 530
BRA . PROUT, ESQUIRE
PA Attorney I.D. No. 203182

Counsel for Defendants
Western Express, Inc. & Ryan P. Gleason

 

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For Prothonota)y Use Only:

 

Docket NO;

 

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T he information collected on this form is used solely for court administration purposes T his form does riot
supplement or replace the filing and service of pleadings or other papers as required by law or rules of court.

 

Commencement of Action:
E Cornplaint
E Transfer from Another Jurisdiction

n Writ of Summons

El Petition
m Dec|aration of Taking

 

 

 

L€ad P]aintifi’$ Name: Lead Defendant’s Name:
SAB|NO CORTES WESTERN EXPRESS, lNC.
Dollar Amount Requested: Dwithin arbitration limits
Are money damages requested? El Yes n No (check one) E]outside arbitration limits
Is this a Class Action Suit? |:| Yes El No Is this an MDJAppeal? l:l Yes No

 

 

Name of Plaintiff/Appellant’s Attorney: RlCHARD M- W|ENER, ESQ.
Ei Check here if you have no attorney (are a Self-Represented [Pro Se] Litigant)

 

 

Nature of the Case:

 

Place an “X” to the left of the ONE case category that most accurately describes your

PRIMARY CASE. If you are making more than one type of claim, check the one that
you consider most important

 

TORT (do not include Mass Tort)
n Intentional
m Malicious Prosecution
E Motor Vehicle
l:] Nuisance
m Premises Liability
m Product Liability (does not include
mass tort)
m Slander/Libel/ Defamation
U Other:

CONTRACT (do not include Judgme)zls)
m Buyer Plaintiff
m Debt Collection: Credit Card
l:l Debt Collection: Other

m Employment Dispute:
Discrimination
m Employment Dispute: Other

 

 

CIVIL APPEALS
Administrative Agencies
m Board ofAssessment
m Board of Elections

Dept. of Transportation
Statutory Appeal: Other

I:] Zoning Board

 
     

 

 

 

 

 

n Other:j ;` 215
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m Other: ‘: ‘ ‘,
MASS TORT
m Asbestos r:.)
[:| Tobacco `»~, _, m
n Toxic TOrt - DES r'::~:: jj f ' 1
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O:l:!c. a c m Ejectment [_'_] Co n w/§§é}utory Arbitration
n er' [;I Eminent Domain/Condemnation [:] Declm‘ato§’}ud@ient
L__l Ground Rent Mandamus
m Landlord/'I`enant Dispute Non-Domestic Relations
m Mortgage Foreclosure: Residential Resu‘aining Order
PROFESSIONAL LIABLITY [:l Mortgage Foreclosure: Commercial Quo Warranto
n Dental n Partition Replevin
m Legal m Quiet Title m Other:
n Medicaj m Other:

n Other Professional:

 

 

 

 

 

 

 

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LAW OFFICES OF RICHARD M. WIENER, LLC
BY: RICHARD M. WIENER, ESQUIRE
Identifrcation No. 68041

Eight Tower Bridge, Suite 400

161 Washington Street

 

 

 

Conshohocken, PA 19428
(610) 832-8050 Attorney for Plaintiffs
sABrNo CoRTEs ; rN THE CoURT oF CoMMoN PLEAS
and z or NoRrHAMPToN CoUNTY,
MARIA MALDONADo ; PENNsYLvANtA
Pzatnnyja § Crer Ac'rroN _ LAW g H

vs. : 1

WESTERN EXPRESS, INC.
and
RYAN P. GLEASON

Defendarzts ; :
NOTICE

You have been sued in court. If you wish to defend against the claims set forth in the following
pages, you must take action Within twenty (20) days after this complaint and notice are served,
by entering a Written appearance personally or by attorney and filing in Writing with the court
your defenses or objections to the claims set forth against you. You are warned that if you fail to
do so the case may proceed without you and a judgment may be entered against you by the court
without further notice for any money claimed in the complaint or for any other claim or relief
requested by the plaintiff You may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW. THIS
OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIR]NG A LAWYER.

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WlTI-I lNFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL
SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

Lawyer Referral Service
155 South Ninth Street
Easton, PA 18042
Telephone 610-258~6333

 

 

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BY: RICHARD M. WIENER, ESQUIRE

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Eight Tower Bridge, Suite 400
161 Washington Street
Conshohocken, PA 19428
(610) 832-8050

 

 

Attorney for Plaintiffs

 

SABINO CORTES

128 Kent Lane

Wilkes-Barre, PA 18702
and

MARIA MALDONADO

687 Summer Avenue, Apt. 8

Newark, NJ 07104

Plairztz']jfs‘
vs.

WESTERN EXPRESS, INC.
7135 Centennial Place
Nashville, TN 37209

and
RYAN P. GLBASON
566 CO RT 21
Hannibal, NY 13074

Defendants

IN THE COURT OF COMMON PLEAS
OF NORTHAMPTON COUNTY,
PENNS YLVANIA

CIVIL ACTION - LAW

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COMPLAINT IN CIVIL ACTION

1. Plaintiff, Sabino Cortes is an adult individual residing at the address above-captioned

2. Plaintiff, Maria Maldonado is an adult individual residing at the address above~

captioned

 

 

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3. Defendant, Western Express, Inc. is a Tennessee for-profit corporation, regularly
conducting substantial business in Northampton County, Pennsylvania, with a registered
principal office at the address above-captioned

4. Defendant, Ryan P. Gleason is an adult individual residing and/or maintaining an
office and/or usual place of business at the address above-captioned

5. At all times material hereto, Defendant, Ryan P. Gleason was the agent, servant,
contractor, sub-contractor, worker, and/or employee of Defendant, Western Express, lnc.,
engaged in the business of said defendant and acting within the scope of his agency and/or
employment

6. Alternatively, at all times material hereto, Defendant, Ryan P, Gleason was the
permissive operator of the truck owned by Defendant, Westem Express, Inc. which was involved
in an incident hereinafter more hilly described

7. On October 13, 2015 at approximately 2230 p.rn., Plaintiff, Maria Maldonado was a
passenger in a 2005 Nissan Quest owned and operated by Plaintiff, Sabino Cortes on lnterstate
80 West at or near mile market 307.6 in East Stroudsburg Borough, Monroe County,
Pennsylvania

8. At the same time and place aforesaid, Defendant, Ryan P. Gleason was the operator of
a 2013 Freightlirier truck owned by Defendant, Western Express, Inc. and registered in the state
of Tennessee.

9. Defendant, Ryan P. Gleason operated the aforesaid truck so as to cause it to strike the

rear of Plaintiff, Sabino Cortes’s aforesaid vehicle.

 

 

 

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COUNT I
SABINO CORTES vs. WESTERN EXPRESS, INC. and RYAN P. GLEASON

10. Plaintiff incorporates by reference the allegations in the preceding paragraphs as
fully as though each were set forth at length herein.

11. The aforesaid collision was directly and proximately caused by the negligent conduct
of Defendant, Ryan P. Gleason and, to the extent Defendant, Ryan P. Gleason Was acting as the
agent of Defendant, Westem Ex'press, Inc., by Defendant, Western Express, Inc., which included
the following:

(a) Operatirig the aforesaid truck so as to cause it to strike the rear of the vehicle
occupied by Plaintiffs;

(b) Following too closely;

(c) Violating 75 Pa.C.S.A. § 3310;

(d) Failing to maintain proper control over a truck;

(e) Failing to maintain an adequate and proper lookout while operating a truck;

(t) Operating a truck at an excessive rate of speed in light of the prevailing road,
traffic and/or weather conditions;

(g) Violating 75 Pa.C.S.A. § 3361;

(h) Failing to give due regard to the point, position and/or safety of other persons
and/or vehicles lawfully on the road;

(i) Failing to properly and/or adequately apply brakes;

(j) Failing to keep a proper lookout;

(k) F ailing to come to a safe and proper stop; and

 

 

 

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(1) Driving a vehicle while being distracted, inattentive and/or tired.

12. As a direct and proximate result of the aforesaid incident, Plaintiff sustained injuries
iri and about his body and extremities which injuries are serious and/or permanent, and/or may
have aggravated a previously-existing condition Plaintift’s injuries include soft tissue and
structural damages to his spine and extremities as well as other injuries, each and all of which
have caused him to undergo physical pain, anxiety, and mental and emotional distress as a direct
and proximate result of which he has and will continue to experience pain and suffering, loss of
enjoyment of life’s pleasures, embarrassment and humiliation, and/or disfigurement

13. As a further direct and proximate result of the aforesaid incident, Plaintiff has been
and may in the future be obliged to incur expenses for medicines, medical attention, and
healthcare in trying to treat and cure said injuries

14. As a further direct and proximate result of the aforesaid incident, Plaintiff has been
and/or may in the future be prevented from attending to his usual and daily occupation and/or
daily duties, thereby suffering a loss of earnings and/or impairment of earning capacity.

15. As a further direct and proximate result of the aforesaid incident, Plaintiff has
suffered and/or may suffer a loss because of expenses which have been or may be reasonably
incurred in obtaining ordinary and necessary services in lieu of those which Plaintiff would have
performed, not for income, but for the benefit of himself if he had not been injured

16. As a further direct and proximate result of the aforesaid incident, Plaintiff s vehicle
was damaged in and about its various parts.

WHEREFORE, Plaintiff, Sabino Cortes demands compensatory damages be awarded in
his favor and against Defendants, Westem Express, Inc. and Ryan P. Gleason, individually,

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jointly and/or severally, in an amount in excess of Fifty Thousand Dollars ($50,000.00) together

with such other relief as this Court may deem proper and just.

COUNT II
SABINO CORTES vs. WESTERN EXPRESS, INC.

17. Plaintiff incorporates by reference the allegations in the preceding paragraphs as
fully as though each were set forth at length herein.

18. The aforesaid collision was directly and proximately caused by the negligent conduct
of Defendant, Western Express, lnc. which included the following:

(a) Allowing and/or requiring Defendant, Ryan P. Gleason to operate the
aforesaid truck when Defendant, Western Express, Inc. knew or reasonably should have
known that Defendant, Ryan P. Gleason was an inexperienced, unlicensed, unqualified,
unsafe, unfit, tired, and/or careless driver.

(b) Allowirig and/or requiring Defendant, Ryan P. Gleason to operate the
aforesaid truck when it knew or reasonably should have known that the truck was not
equipped with proper and/or properly operating signals, safety devices, warning devices,
tires, and/or brake systems;

(c) Violating the applicable traffic, interstate commerce and trucking laws and
regulations;

(d) Failing to properly and/or adequately inspect and/or maintain the aforesaid

truck, including, but not limited to those items specified in sub-paragraph (b) above;

 

 

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(e) Permitting and/or requiring Defendant, Ryan P. Gleason to operate the
aforesaid truck when it knew or reasonably should have known it was in a state of
disrepair and/or unsafe to drive under the circumstances;

(t) lmproperly hiring, employing, promoting, training, and/or supervising various
agents, servants, contractors, sub-contractors, workers, and/or employees, such as
Defendant, Ryan P. Gleason who had the responsibility and/or obligation to properly
inspect, maintain, and/or operate the aforesaid truck;

(g) lmproperly permitting the various agents, servants, workers, contractors, sub-
contractors, and/or employees, such as Defendant, Ryan P. Gleason to continue working
as agents, servants, workers, contractors, sub-contractors, and/or employees when
Defendant knew and/or should have known that said agents, servants, workers,
contractors, sub-contractors, and/or employees were unable to and/or incapable of
properly performing the requirements of their respective employment;

(h) F ailing to establish proper policies, procedures and/or standards to determine
whether potential or actual agents, servants, workers, contractors, sub-contractors, and/or
employees were and/or are fit and capable of properly performing the requirements of
their respective employment;

(i) Establishirig improper and/or unsafe policies, procedures and standards
regarding the time within and/or manner with which service calls and/or deliveries were
made, goods were picked up, and/or goods were shipped;

(j) Establishing improper and/or unsafe policies, procedures and standards

regarding the amount of time its driver(s) must sleep and/or rest each day;

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(k) Establishing improper and/or unsafe policies, procedures and standards
regarding the number of hours worked by agents, servants, workers, contractors, sub-
contractors, and/or employees, such as Defendant, Ryan P. Gleason;

(l) Establishing improper and/or unsafe policies, procedures and standards
regarding the conditions and circumstances under which its agents, servants, workers,
contractors, sub-contractors, and/or employees, such as Defendant, Ryan P. Gleason were
permitted to drive a truck; and

(m) Failing to properly enforce applicable policies, procedures, and standards
concerning issues as described in sub-paragraphs (h), (i), (j), (k) and (l).

19. As a direct and proximate result of Defendant’s aforesaid negligence, Plaintiff
sustained the injuries and incurred the damages set forth in 1111 12-16, supra

WHEREPORE, Plaintiff, Sabino Cortes demands compensatory damages be awarded in
his favor and against Defendant, Western Express, lnc., individually, jointly and/or severally, in
an amount in excess of Fifty Thousand Dollars ($50,000.00) together with such other relief as
this Court may deem proper and just.

CGUNT III
MARIA MALDONADO vs. WESTERN EXPRESS, INC. and RYAN P. GLEASON

20. Plaintiff incorporates by reference the allegations in the preceding paragraphs as
fully as though each were set forth at length herein.
21. The aforesaid collision was directly and proximately caused by the negligent conduct

of Defendant, Ryan P. Gleason and, to the extent Defendant, Ryan P. Gleason was acting as the

 

 

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agent of Defendant, Western Express, lnc., by Defendant, Western Express, lnc., which included
the following:
(a) Operating the aforesaid truck so as to cause it to strike the rear of the vehicle
occupied by Plaintiffs;
(b) Following too closely;
(c) Violating 75 Pa.C.S.A. § 3310;
(d) F ailing to maintain proper control over a truck;
(e) F ailing to maintain an adequate and proper lookout while operating a truck;
(t) Operating a truck at an excessive rate of speed in light of the prevailing road,
traffic and/or weather conditions;
(g) Violating 75 Pa.C.S.A. § 3361;
(h) Failing to give due regard to the point, position and/or safety of other persons
and/or vehicles lawfully on the road;
(i) Failing to properly and/or adequately apply brakes;
(j) Failing to keep a proper lookout;
(k) Failing to come to a safe and proper stop; and
(l) Driving a vehicle while being distracted, inattentive and/or tired.

22. As a direct and proximate result of the aforesaid incident, Plaintiff sustained injuries
in and about her body and extremities which injuries are serious and/or permanent, and/or may
have aggravated a previously-existing condition Plaintift’s injuries include soft tissue and
structural damages to her spine and extremities as well as other injuries, each and all of which

have caused her to undergo physical pain, anxiety, and mental and emotional distress as a direct

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and proximate result of which she has and will continue to experience pain and suffering, loss of
enjoyment of life’s pleasures, embarrassment and humiliation, and/or disfigurement

23. As a further direct and proximate result of the aforesaid incident, Plaintiff has been
and may in the future be obliged to incur expenses for medicines, medical attention, and
healthcare in trying to treat and cure said injuries.

24. As a further direct and proximate result of the aforesaid incident, Plaintiff has been
and/or may in the future be prevented from attending to her usual and daily occupation and/or
daily duties, thereby suffering a loss of earnings and/or impairment of earning capacity.

25. As a further direct and proximate result of the aforesaid incident, Plaintiff has
suffered and/or may suffer a loss because of expenses which have been or may be reasonably
incurred in obtaining ordinary and necessary services in lieu of those which Plaintiff would have
performed, not for income, but for the benefit of herself if she had not been injured

WHEREFORE, Plaintiff, Maria Maldonado demands compensatory damages be awarded
in her favor and against Defendants, Western Express, Inc. and Ryan P. Gleason, individually,
jointly and/or severally, in an amount in excess of Fifty Thousand Dollars ($50,000.00) together
with such other relief as this Court may deem proper and just.

COUNT IV
MARIA MALDONADO vs. WESTERN EXPRESS, INC.

26. Plaintiff incorporates by reference the allegations in the preceding paragraphs as
fully as though each were set forth at length herein
27. The aforesaid collision was directly and proximately caused by the negligent conduct

of Defendant, Western Express, Inc. which included the following:

 

 

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(a) Allowing and/or requiring Defendant, Ryan P. Gleason to operate the
aforesaid truck when Defendant, Westem Express, Inc. knew or reasonably should have
known that Defendant, Ryan P. Gleason was an inexperienced, unlicensed, unqualified,
unsafe, unfit, tired, and/or careless driver.

(b) Allowing and/or requiring Defendant, Ryan P. Gleason to operate the
aforesaid truck when it knew or reasonably should have known that the truck was not
equipped with proper and/or properly operating signals, safety devices, warning devices,
tires, and/or brake systems;

(c) Violating the applicable traffic, interstate commerce and trucking laws and
regulations;

(d) Failing to properly and/or adequately inspect and/or maintain the aforesaid
truck, including, but not limited to those items specified in sub-paragraph (b) above;

(e) Permitting and/or requiring Defendant, Ryan P. Gleason to operate the
aforesaid truck when it knew or reasonably should have known it was in a state of
disrepair and/or unsafe to drive under the circumstances;

(t) lmproperly hiring, employing, promoting, training, and/or supervising various
agents, servants, contractors, sub-contractors, workers, and/or employees, such as
Defendant, Ryan P. Gleason who had the responsibility and/or obligation to properly
inspect, maintain, and/or operate the aforesaid truck;

(g) Improperly permitting the various agents, servants, workers, contractors, sub-
contractors, and/or employees, such as Defendant, Ryan P. Gleason to continue working

as agents, servants, workers, contractors, sub-contractors, and/or employees when

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Defendant knew and/or should have known that said agents, servants, workers,
contractors, sub-contractors, and/or employees were unable to and/or incapable of
properly performing the requirements of their respective employment;

(h) Failing to establish proper policies, procedures and/or standards to determine
whether potential or actual agents, servants, workers, contractors, sub-contractors, and/or
employees were and/or are fit and capable of properly performing the requirements of
their respective employment;

(i) Establishing improper and/or unsafe policies, procedures and standards
regarding the time within and/or manner with which service calls and/or deliveries were
made, goods were picked up, and/or goods were shipped;

(j) Establishing improper and/or unsafe policies, procedures and standards
regarding the amount of time its driver(s) must sleep and/or rest each day;

(k) Establishing improper and/or unsafe policies, procedures and standards
regarding the number of hours worked by agents, servants, workers, contractors, sub~
contractors, and/or employees, such as Defendant, Ryan P. Gleason;

(l) Establishing improper and/or unsafe policies, procedures and standards
regarding the conditions and circumstances under which its agents, servants, workers,
contractors, sub-contractors, and/or employees, such as Defendant, Ryan P. Gleason were
permitted to drive a truck; and

(m) Failing to properly enforce applicable policies, procedures, and standards
concerning issues as described in sub-paragraphs (h), (i), (j), (k) and (l).

28. As a direct and proximate result of Defendant’s aforesaid negligence, Plaintiff

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sustained the injuries and incurred the damages set forth in j[‘§j 22-25, supra.

WHEREFORE, Plaintiff, Maria Maldonado demands compensatory damages be awarded
in her favor and against Defendant, Westem Express, lnc., individually, jointly and/or severally,
in an amount in excess of Fifty Thousand Dollars ($50,000.00) together with such other relief as

this Court may deem proper and just.

 
 
 

 

M. WIENER, ESQUIRE
omey for Plaintiffs

JURY DEMAND

Plaintiffs demand a jury trial as to all issues herein.

   
  

FFICES OF CHARD M. WIENER, LLC

 

Attorney for Plaintiffs

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VERIFICA'I`ION

Sabino Cortes hereby states that he is the Plaintiff herein and that the facts set forth in the
foregoing Complaint in Civil Action are true and correct to the best of his knowledge,
information and belief and are based upon information he has furnished to his counsel and
information which has been gathered by his counsel in preparation of the lawsuit The language
in the Complaint is that of counsel and not of Plaintiff. Plaintiff has read the Complaint and to
the extent it is based upon information he has given to his counsel, it is true and correct to the
best of his knowledge, information and belief To the extent the contents of the Complaint are
that of counsel, Plaintiff has relied upon counsel in making this verification This verification is

made subject to 18 Pa.C.S.A. § 4904 which provides for certain penalties for making false

§a£,;ra /;;Z:

Sabino Cortes

statements

 

 

 

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VERIFICATION

Maria Maldonado hereby states that she is the Plaintiff herein and that the facts set forth
in the foregoing Cornplaint in Civil Action are true and correct to the best of her knowledge,
information and belief and are based upon information she has furnished to her counsel and
information which has been gathered by her counsel in preparation of the lawsuit. The language
in the Complaint is that of counsel and not of Plaintiff. Plaintiff has read the Complaint and to
the extent it is based upon information she has given to her counsel, it is true and correct to the
best of her knowledge, information and belief To the extent the contents of the Complaint are
that of counsel, Plaintiff has relied upon counsel in making this verification This verification is
made subject to 18 Pa.C.S.A. § 4904 which provides for certain penalties for making false

statements

Mana fbi rfc/emile

Maria Maldonado

 

 

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Law Offices of

 

Richard M. Wiener, ttC

 

RECE!VES 'fi‘f.i 0 3 ZW
S€ptember 29, 2017

CERTIFIED MAIL/RETURN RECEIP'I` REOUESTED
AND U.S. FIRST CLASS MAIL

Westem Express, Inc.
7135 Centennial Place
Nashville, TN 37209

Re: Sabino Cortes and Maria Maldonado vs. Westem Express, Inc., et al.
CCP, Northampton County, Docket No.: C-48-cv-2017-8856

Dear Sir/Madam:
Enclosed please find a true and correct copy of the Complaint in Civil Action filed
against you in the above-captioned matter. Please forward this to your insurance company

upon receipt

Very truly yours,

/ jj f
(/"‘i/d/Ur.tar°"ks W ‘{//;/é?'gc<“

Th`eresa M. Miller, Paralegal to
RICHARD M. WIENER, ESQUIRE

 

/tmm
Enclosure

Return Receipt No.: 7014 3490 0000 7872 8952

   
  

Eight Tower Bridge v Suite 4
Phone: 6|0-832-805

Conshohocken, PA |9428
.wlenerlegal.com

 

 

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USPS Tracking® Resu|ts

FAQs > (http://faq.usps.com/?articleld=220900)
Track Another Package +

Remove X

Tracking Number: 70143490000078728952

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Product & Tracking lnformation see Avanabie Acuons

Postal Product: Features:
Certified t\/taitTM

DATE & TlME STATUS OF lTEI\/l LOCAT|ON
October 2, 2017, 1:03 pm Delivered, Front NASHV|LLE, TN 37209
Desk/Reception
L

Your item vvas delivered to the front desk or reception area at 1:03 pm on October 2, 2017 in
NASHVILLE, TN 37209.

 

October 2, 2017, 3107 am Departed USPS Regiona| NASHV!LLE TN
Facility D|STRtBUTlON CENTER
ANNEX
October 1, 2017, 2149 pm Arrived at USPS Regional NASHV|LLE TN
Facility DISTR|BUT|ON CENTER
ANNEX

 

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DATE & Tii\/iE STATUS OF iTEi\/i LOCAT|ON

October i, 2017, 9:28 am |n Transit to Destination ON iTS WAY TO
NASHVILLE, TN 37209

 

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